         Case 17-70283 Document 100 Filed in TXSB on 02/28/19 Page 1 of 1


                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS

                                                                                                     ENTERED
                                                                                                     02/28/2019

IN RE:                                                                       CASE NO. 17−70283
Arturo Diaz, Jr                                                              CHAPTER 13
      Debtor(s)

            ORDER TO DEPOSIT FUNDS INTO THE COURT REGISTRY


    The following motion is GRANTED:

99 − Application to Deposit Unclaimed Funds Filed by Trustee Cindy Boudloche (Attachments: # 1 Proposed
                                       Order) (Boudloche, Cindy)

    These unclaimed funds may be deposited into the Registry of the Court:

                         Amount: $ 10,542.30
                         Owed to: LOS PINOS HOMEBUILDERS
                         LLC


    Signed and Entered on Docket: 2/28/19.

                                                   by: Kristy Love
                                                       Deputy Clerk

   This Order is signed for the Court by the Clerk under authority of 28 U.S.C. § 956 and
General Order No. 2000−3.
